                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                  CEDAR RAPIDS DIVISION

STATE OF KANSAS, et al,

Plaintiffs,
                                                                Civil Action No. 1:24-cv-00110
v.

XAVIER BECERRA, in his official capacity as
Secretary of the United States Department of
Health and Human Services, et al,

Defendants.

MOTION FOR PRELIMINARY INJUNCTION PENDING APPEAL AND REQUEST FOR
                        EXPEDITED RULING

         Consistent with Federal Rule of Civil Procedure 62(d) and Federal Rule of Appellate

Procedure 8(a)(1), Plaintiffs move for an injunction pending appeal of the Court’s order denying

Plaintiffs’ motion for preliminary injunction of Defendants’ Final Rule. See Order, ECF 95. As

explained below and in prior briefing, see ECF Nos. 30, 46, and 78, Plaintiffs are likely to succeed

on the merits, will suffer irreparable harm absent a preliminary injunction, and the balance of

equities and public interest are in their favor. They are therefore likely to succeed in their appeal.

         An injunction pending appeal is appropriate and necessary to prevent additional

irreparable harm to Plaintiffs. In light of the continuing and irreparable harm to the Plaintiffs,

Plaintiffs request an expedited ruling before close of business on Tuesday, January 21, 2025, so

that Plaintiffs can expeditiously seek relief at the appellate court if necessary.

                                         BACKGROUND

         On May 10, 2024, Defendants issued their Final Rule: “Medicare and Medicaid Programs;

Minimum Staffing Standards for Long-Term Care Facilities and Medicaid Institutional Payment

Transparency Reporting” (“the Final Rule”). See 89 Fed. Reg. 40876. The Final Rule imposed a

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staffing mandate that tripled Congress’s standard for RN care, imposed an inflexible staffing

mandate without consideration of local needs or conditions,1 and supported those staffing

mandates with a new enhanced facility assessment (“EFA”). See 89 Fed. Reg. at 40,876.

Plaintiffs—20 states and 18 organizations representing long-term care facilities (LTCs)—

challenged the Final Rule on October 8, 2024. ECF 1. On October 22, Plaintiffs moved for a

preliminary injunction. ECF 30. The Court heard oral argument on the motion on December 5.

On January 16, 2025, the Court issued an order denying the motion for a preliminary injunction.

ECF 95

                                         LEGAL STANDARD

        Fed. R. of App. P. 8(a)(1)(c) requires a party seeking an injunction pending appeal to

move in the district court first. “In ruling on a request for an injunction pending appeal, the

court must engage in the same inquiry as when it reviews the grant or denial of a preliminary

injunction.” Walker v. Lockhart, 678 F.2d 68, 70 (8th Cir. 1982). So the Court must consider “(1) the

threat of irreparable harm to the movant; (2) the state of the balance between this harm and the

injury that granting the injunction will inflict on other litigant[s]; (3) the probability that

movant will succeed on the merits; and (4) the public interest.” Law v. Gast, 643 F.Supp.3d 914,

917 (S.D. Iowa, 2022) (quoting Dataphase Sys., Inc. v. CL Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981)).

                                             ARGUMENT

        Plaintiffs meet the standard for preliminary injunctive relief. As this Court agrees, they

have shown the Final Rule will irreparably harm Plaintiffs. Further, Plaintiffs are likely to




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  The Final Rule requires (1) total nurse staffing of at least 3.48 hours per resident day
(“HPRD”); (2) a mandate for RN staffing of at least 0.55 HPRD; and (3) nurse aid (“NA”) staffing
of at least 2.45 HPRD.1 89 Fed. Reg. at 40877.
                                                    2

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succeed on the merits, and the balance of harms and the public interest weigh substantially in

their favor.

    I.         Plaintiffs will suffer irreparable harm if the Final Rule is not enjoined

               a. The EFA is integral to the Final Rule as a whole

         The Court considered irreparable harm as a “threshold matter.” ECF 95 at 8. And it

correctly determined that the EFA provisions of the Final Rule cause irreparable harm to

Plaintiffs. ECF 95 at 16. In effect since August 8, 2024, the EFA requires providers to conduct a

comprehensive evaluation of their facility, residents, staff, and resident families to determine

staffing and other needs. The Final Rule mandates LTC facilities to ensure the “active

involvement” of direct care staff and their representatives, and to “solicit and consider input”

from residents, their representatives, and family members. 89 Fed. Reg. at 40,908; id. at 40,905-

06. Facilities must “review and update” the EFA at least annually, without clear guidance on

when updates are “necessary”—thus, leading to potential civil penalties. Id. at 40,999. LTC

facilities must also create “contingency planning,” despite already having emergency plans in

place. Id. at 41,000.

         Overall, the EFA imposes significant administrative burdens and vague requirements

that could result in fiscal penalties even with LTC facilities seeking to comply in good faith.

CMS estimates the cost of the EFA to be around $4,955 per facility, but that number is too low.

Plaintiff Dooley Center, for example, took approximately 16 hours of staff time to complete the

enhanced facility assessment, which comes out to approximately $579.36 per month to stay in

compliance. For plaintiff Wesley Towers, the enhanced facility assessment required 89 hours to

complete, costing thousands of dollars of staff time and diverting their attention from other

work. ECF 30-24 at 2 ¶ 5. Underscoring the arbitrary nature of the Final Rule’s staffing

mandates, both Dooley Center’s and Wesley Towers’ enhanced facility assessment

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demonstrated there is no supported need for 24/7 RN coverage, as their acuity is relatively low,

with no major diagnosis or skill needs requiring an RN on site around the clock. See ECF 30-25

at 2-4 ¶ 9; ECF 30-24 at 1 ¶ 4.

       Accordingly, the Final Rule, through its EFA provisions, irreparably harms Plaintiffs. But

instead of proceeding to analyze Plaintiffs’ likelihood of success on the merits for the Final Rule

as a whole, the Court considered likelihood of success only with respect to the Final Rule’s EFA

provision, since that was the only source of irreparable harm the Court believed warranted a

preliminary injunction. The Court also did not determine that the EFA provision were severable

from the Final Rule, and declined to perform any severability analysis. ECF 95 at 21, fn. 11 Absent

a determination that the EFA is severable from the Final Rule’s other requirements, the Final

Rule should be considered as an intact whole for purpose of preliminary injunctive relief.2 The

Court’s failure to do so was error—the Final Rule should have been enjoined as long as an

inseverable part of it will cause irreparable harm to the Plaintiffs.

       The Court did not cite any case to support its approach in splitting up the Final Rule in

its preliminary injunction analysis. But Eighth Circuit precedent shows the Court should have

taken a different approach. In Missouri v. Biden, 112 F.4th 531 (8th Cir. 2024), the Eighth Circuit

enjoined the U.S.’s entire loan forgiveness rule (SAVE), despite a district court finding that only

the ultimate forgiveness provision of the rule imposed irreparable harm. The Court’s Order

stated the Missouri injunction was issued “only because the Government created a hybrid rule

that made the district court’s injunction useless.” ECF 95 at 17. But that is incorrect. If the

hybrid rule caused irreparable harm by enabling continuing loan forgiveness despite the district

court injunction, the Eighth Circuit could have enjoined the loan forgiveness provision of the


2 Plaintiffs have maintained throughout this litigation that they are challenging the entire Final

Rule. See Order, ECF 95 at 10, fn.5.
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hybrid rule. Instead, it enjoined the entire rule because the entire rule facilitated the irreparable

harm.

        That is the case here as well. The Court’s Order ignores that the EFA is a not a separate,

unconnected provision of the Final Rule. It is an inseparable support to the minimum staffing

requirements. The Final Rule itself acknowledges this connection between the EFA and the rest

of rule repeatedly. 3 And the EFA is designed not only to ensure compliance with the minimum

staffing requirements once they take effect, but to move LTCs toward compliance with those

requirements. Proposed section 483.71(b)(4), for example, requires LTCs to “use their facility

assessment to develop and maintain a staffing plan to maximize recruitment and retention of

nursing staff.” 89 Fed. Reg. at 40,906. Thus, the EFA is an essential preliminary to implementing

the Final Rule’s minimum staffing standard.4 It should not have been considered separately from

the other provisions of the Final Rule.

           b. The Staffing Mandates irreparably harm Plaintiffs

        The EFA’s irreparable harm to the Plaintiff merits injunctive relief. But the EFA is not the


3 See, e.g., 89 Fed. Reg. at 40,881 (“we believe that national minimum staffing standards in LTC

facilities and the adoption of a 24/7 RN and enhanced facility assessment requirements, will help
to advance equitable, safe, and quality care sufficient to meet the nursing needs for all residents
and greater consistency across facilities.”); id. at 40,883 (“The additional requirements in this
rule to bolster facility assessments are intended to address this need and guard against any
attempts by LTC facilities to treat the minimum staffing standards included here as a ceiling,
rather than a floor.”) id. at 40,906 (“We proposed at new § 483.71(b)(4) that LTC facilities
would have to use their facility assessment to develop and maintain a staffing plan to maximize
recruitment and retention of nursing staff.”); id. (“The facility assessment is an important
complement to the minimum staffing requirements.”) id. at 40,909 (“The facility assessment is
the foundation for LTC facilities to assess their resident population and determine the direct
care staffing and other resources, to provide the required care to their residents.).
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  See 89 Fed. Reg. at 49,909 (“the new [EFA] requirement… is intended to provide clarification on
how LTC facilities are to use their facility assessments… The facility assessment must be
conducted and developed with the intent of using it to inform decision making, especially about
staffing decisions. The facility assessment must be used to develop and maintain the staffing
plan or the plan to maximize recruitment and retention of direct care staff… Thus, the facility
assessment would inform the staffing plan the LTC facility requires.”).
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Final Rule’s only source of irreparable harm to Plaintiffs. Both the State Plaintiffs and

organizational Plaintiffs will suffer irreparable harm from the Final Rule’s minimum staffing

requirements. The Court held that compliance costs incurred to comply with a potentially

invalid regulation may constitute irreparable harm. ECF 95 at 12. That holding recognizes that

Plaintiffs cannot recover a remedy of money damages for harm caused by the Final Rule due to

the sovereign immunity of the United States. The Final Rule’s imposition on all Plaintiffs of

substantial compliance costs therefore constitutes irreparable harm that only a preliminary

injunction can prevent. The Court erred by determining these harms are not irreparable.

       The Court recognized that the 24/7 RN requirement and HPRD requirements “will

impose tremendous costs on LTC facilities.” ECF 95 at 12. The court believed, however, that

such costs were “too speculative” to constitute irreparable harm for purpose of a preliminary

injunction. Id. Plaintiffs submitted substantial evidence showing that they are incurring costs

now from the 24/7 RN and HPRD requirements of the Final Rule. In particular, multiple

Plaintiffs filed declarations testifying as to the changes that many of their member LTCs already

were undertaking as a result of the Final Rule. For example, LeadingAge Virginia discussed how

many of their nursing homes already were “attempting to hire additional RNs rather than LPNs”

because of the 24/7 RN and HPRD requirements, and were “increasing hiring efforts” more

broadly in preparation for the Final Rule going into effect. ECF 30-22 at 9 ¶ 11. Similarly,

LeadingAge Iowa similarly testified that their member facilities “are attempting to hire RNs over

LPNs whenever possible” and engaging in expensive and aggressive recruitment strategies in

preparation for the Final Rule. ECF 30-10 at 8 ¶ 9.

       The Court did not dispute the fact of the imposition of these costs now, but instead

noted that they Plaintiffs did not submit “cost breakdowns” as to these efforts. Such a detailed

cost breakdown is not required for a preliminary injunction, and it was incorrect for the court to

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require such specifics when the fact of substantial injury is clear.

         The State Plaintiffs operate their own state-run nursing homes that are subject to the

Final Rule that will incur all of these same costs and burdens. For example, Arkansas has a state-

operated 310-bed psychiatric nursing home, the Arkansas Health Center, see Ark. Code Ann. §

25-10-401; Idaho has at least five state-run nursing homes subject to the Final Rule; and West

Virginia operates four nursing homes that collectively has 312 beds. These nursing homes and, by

extension, the State will suffer the same harms that the LTCs described above suffer, with

massively increased staffing costs, an inability to hire necessary staff such that they are forced to

reduce services or even close, and increased staff time and costs devoted to EFAs that contain

vague directives as to the requirements and frequency.

         The harms to the State Plaintiffs are even more extensive due to their additional

regulatory role. Take Indiana as an example. There, the Indiana Health Coverage Program and

Indiana PathWays for Aging provide coverage for long-term care services provided to eligible

members with an applicable level-of-care determination. CMS estimates that complying with

the 24/7 RN Requirement will cost over $10.9 million annually in Indiana. 89 Fed. Reg. at 40962,

tbl. 18. Statewide, CMS estimates that complying with this rule will cost Indiana LTD facilities

$151.2 million. Id. at 40984, tbl. 28. Much of this cost will be passed on to health plans, like

Indiana Health Coverage Program and Indiana PathWays for Aging offered by the State.

         Plaintiffs have established irreparable harm from the entirety of Final Rule if it is not

preliminarily enjoined.

   II.      Defendants will not suffer any harm if the Final Rule is enjoined

         Unlike the irreparable harm that Plaintiffs will suffer absent an injunction, an injunction

pending appeal cannot harm Defendants. Defendants alleged that they are harmed if their

rulemaking is even briefly delayed because it would “frustrate Congress’s objectives” by

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blocking the Secretary of Health and Human Services from enacting a regulation authorized by

statute. See U.S. Response, ECF 72 at 52. But if the Final Rule is unlawful, not authorized by

statute, or arbitrary and capricious (i.e. if Plaintiffs are likely to succeed on the merits), then

there is no harm to Defendants.

           Second, Defendants would not be harmed because an injunction pending appeal would

not delay the purported benefits of the Final Rule. This is because the Final Rule is front-loaded

so that its harms to the Plaintiffs occur long before any alleged benefits. Plaintiffs have been

harmed and will continue to be harmed due to the Final Rule’s compliance costs in the first year.

The Court agreed that the EFA requirement harmed Plaintiffs and the costs of compliance “will

recur on an ongoing basis.” Order, ECF 95 at 16. In addition to the EFA, Plaintiffs also incur

costs as they must act now to prepare to comply with the staffing mandates. But the staffing

mandates will not become effective until 2026 at the earliest, which means the benefits, if any, of

increased staffing are also years away. There would be no harm in enjoining the Final Rule,

therefore, as a preliminary injunction would not delay the effective date of the Final Rule’s

staffing mandates.

           Accordingly, the balance of harms greatly favors an injunction pending appeal, as

Plaintiffs bear all the costs of the Final Rule’s continued application, while Defendants would

not be harmed by an injunction.

    III.      Plaintiffs are likely to succeed on the merits

           The Final Rule is contrary to statute, violates the major questions doctrine, exceeds

Defendants’ statutory authority, and is arbitrary and capricious. The success of any one of these

claims will result in Plaintiffs succeeding on the merits.

           The Court acknowledged that Plaintiffs “raised substantial issues and concerns about

Final Rule’s 24/7 RN requirement and HPRD requirements.” ECF 95 at 21. However, the Court

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did not evaluate Plaintiffs’ likelihood of success on those claims. This was error, since likelihood

of success is the “most significant” factor for a preliminary injunction. Missouri, 112 F.4th at 536;

S&M Constructors, Inc. v. Foley Co., 959 F.2d 97, 98 (8th Cir. 1992). A full analysis of Plaintiffs’

likelihood of success, along with consideration of the balance of the equities, would have

pointed decisively in Plaintiffs’ favor, and would have merited injunctive relief. See Fennell v. Butler,

570 F.2d 263, 264 (8th Cir. 1974) (“If the balance [of the equities] tips decidedly towards the

plaintiffs and the plaintiffs have raised questions serious enough to require litigation, ordinarily the

injunction should issue.”) (emphasis added).

        When the Final Rule is analyzed as a whole, it is clear that is unlawful, violates the major

questions doctrine, exceeds statutory authority, and is arbitrary and capricious.

        1. The Final Rule is unlawful

        The Final Rule violates existing law. Congress already established the minimum amount

of RN staffing necessary to participate in Medicaid or Medicare: LTC facilities “must use the

services of a registered professional nurse for at least 8 consecutive hours a day, 7 days a week.”

42 U.S.C. §1396r(b)(4)(C)(i); accord id. § 1395i-3(b)(4)(C)(i). The Final Rule replaces that 8/7

RN requirement with a mandate that all LTC facilities “must have a registered nurse (RN)

onsite 24 hours per day, for 7 days a week.” 89 Fed. Reg. at 40,997. Defendants cannot rewrite a

different universally applicable floor of 24/7 RN coverage into a statute that was enacted with an

8/7 RN floor.

        Congress also requires 24-hour licensed nursing staff (in addition to the 8-hour RN)

sufficient to meet the nursing needs of nursing home patients, 42 U.S.C. § 1396r(b)(4)(C)(i)(I).

But LTCs may receive a waiver if, among other things, the LTC demonstrates that it has been

unable to recruit the necessary staff, and the “State determines that a waiver of the requirement

will not endanger the health or safety of individuals staying in the facility.” Id §

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1396r(b)(4)(C)(ii). The Final Rule also has a waiver provision, but it provides an 8-hour per day

exemption to the 24-hour staffing. 89 Fed. Reg. 40,953. This means that a nursing home will

never be allowed to have less than 16 hours of nursing staff per day. The statute on the other

hand provides waivers even to its 8/7 staffing requirements. See 42 U.S.C. § 1396r(b)(4)(C)(ii);

accord § 1395i-3(b)(4)(C)(ii). So the Final Rule renders the statutory waiver void. The court

should not accept an interpretation of the statute that makes the statute ineffective.

       2. The Final Rule violates the major questions doctrine

       When agency action involves a matter of “vast economic and political significance,” the

agency must find clear congressional authority approving of such action. Alab. Ass'n of Realtors v.

Dep't of Health and Hum. Servs., 594 U.S. 758, 764 (2021) (finding no clear congressional authority

for the CDC to issue a nationwide eviction moratorium). The requirement of clear congressional

authorization is based on “both separation of powers principles and a practical understanding of

legislative intent.” West Virginia v. EPA, 597 U.S. 697, 723 (2022). Courts should “‘typically greet’

assertions of ‘extravagant statutory power over the national economy’ with ‘skepticism.’” Id.

(quoting Util. Air Regul. Group v. EPA, 573 U.S. 302, 324 (2014)). The major questions doctrine is

also implicated given its impact on powers reserved to the States. “When an agency claims the

power to regulate vast swaths of American life, it not only risks intruding on Congress's power,

it also risks intruding on powers reserved to the States.” Id. at 744. (Gorsuch, J. concurring).

CMS has “intruded” on powers traditionally reserved to the States by forcing this staffing rule

on them. Because Congress required only 8/7 staffing and allowed flexibility for LTCs based on

the needs of their facilities, states have moved to add further requirements based on the needs of

their residents and communities.

       The Final Rule therefore poses a major question. Defendants propose to revamp the

entire nursing home industry to the tune of at least $43 billion dollars in compliance costs,

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similar to what the Supreme Court has held qualifies as a rule of vast economic significance. Ala.

Ass’n of Realtors, 594 U.S. at 764 (finding a $50 billion cost triggered the major questions

doctrine). The actual cost is likely higher. The Final Rule also impacts nearly all LTCs in almost

every state, and threatens to drive a large percentage of them out of business.

       When a court finds a major question, it must look for “clear authorization,” not some

“vague statutory grant.” West Virginia, 597 U.S. at 732. But a vague statutory grant is all

Defendants offer. And even that requires ignoring the statutes more specific—and less

onerous—8/7 minimum staffing requirements. Without clear congressional authorization,

Defendants violate the major questions doctrine.

       3. The Final Rule exceeds Defendants’ statutory authority

       But Defendants not only lack clear statutory authorization, they lack any plausible

authorization at all. CMS, like all administrative agencies, is a “creature[] of statute,” and

accordingly “possess[es] only the authority that Congress has provided.” Nat’l Fed’n of Indep. Bus.,

595 U.S. at 117. “[A]n agency literally has no power to act . . . unless and until Congress confers

power upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986); see also 42 U.S.C. § 1302(a)

(Secretary may not “publish rules and regulations” that are “inconsistent with” the law).

         In the absence of clear statutory authority, Defendants use a “miscellaneous” and “other”

authority to triple the minimum staffing hours Congress has already implemented. And they use

that same provision to authorize staffing ratios that are nowhere to be found in the statute. Even

if CMS had some authority to set staffing requirements through vague statutory provisions, it

could not use that limited authority to contradict what Congress had already put into place.

“Agencies may play the sorcerer’s apprentice but not the sorcerer himself.” Alexander v. Sandoval,

532 U.S. 275, 291 (2001). The Final Rule is a crude attempt by CMS to play sorcerer.

       a. 24/7 RN requirement

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       Defendants have no authority to triple the requirement for the minimum amount of RN

staffing necessary to participate in Medicaid or Medicare. Congress has already decided the

issue: LTC facilities “must use the services of a registered professional nurse for at least 8

consecutive hours a day, 7 days a week.” 42 U.S.C. § 1396r(b)(4)(C)(i); accord id. §1395i-

3(b)(4)(C)(i). The Final Rule replaces that statutory floor by mandating that an LTC “must

have a registered nurse (RN) onsite 24 hours per day, for 7 days a week.” 89 Fed. Reg. at 40997.

       CMS, like all administrative agencies, can only promulgate rules “pursuant to authority

Congress has delegated to [it].” Gonzales v. Oregon, 546 U.S. 243, 258 (2006). But Defendants do

not rely on specific delegations of authority; they rely on “various provisions” elsewhere in

sections 1395i-3 and 1396r that contain “separate authority” for minimum staffing levels, id. at

40879, 40890-91. These provisions include:

       1) A requirement that an LTC must meet “such other requirements relating to the

           health and safety of residents or relating to the physical facilities thereof as the

           Secretary may find necessary,” 42 U.S.C. § 1396r(d)(4)(B), accord 42 U.S.C. § 1395i-

           3(d)(4)(B).

       2) A requirement that an LTC “must provide services and activities to attain or

           maintain the highest practicable physical, mental, and psychosocial well-being of

           each resident in accordance with a written plan of care,” 42 U.S.C. § 1396r(b)(2),

           accord 42 U.S.C. § 1395i-3(b)(2); and (3)

       3) A requirement that an LTC facility “must care for its residents in such a manner and

           in such an environment as will promote maintenance or enhancement of the quality

           of life of each resident.” 42 U.S.C. § 1396r(b)(1)(A); accord 42 U.S.C. § 1395i-

           3(b)(1)(A).

       Defendants claim the authority to rewrite the specific minimum staffing statutes that

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apply to LTCs by virtue of a general authority found in other, catch-all provisions of the statute.

They thereby violate the principle that “[g]eneral language” in one part of a statute “will not be

held to apply to a matter specifically dealt with in another part of the same enactment.” See, e.g.,

RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645-46 (2012) (quoting D. Ginsberg

& Sons, Inc. v. Popkin, 285 U.S. 204, 208 (1932)). The best reading of the statutory authority that

CMS relies on is that it is related to administrative details concerning the health and safety of

LTC patients which the rest of the Medicare and Medicaid statute does not already cover. It

does not authorize a 24/7 RN mandate that replaces the 8/7 RN mandate.

                 b. The HPRD Requirements

       The Final Rule’s HPRD requirements are similarly not authorized by statute. Congress

carefully considered whether to enact quantitative staff-to-patient ratios for LTC facilities, and it

chose not to do so. Congress chose a qualitative standard in the underlying statutes, leaving

quantitative staff-to-patient ratios to the states: LTC facilities must provide nursing services

“sufficient to meet the nursing needs of its residents.” 42 U.S.C. § 1396r(b)(4)(C)(i); accord §

1395i-3(b)(4)(C)(i).

       The Final Rule unlawfully substitutes CMS’s current policy views for Congress’

considered judgment. Instead of accommodating the wide variation of resident needs in different

states and communities, the Final Rule inflexibly mandates that each facility in each state meet

an arbitrary numerical staffing threshold: “[a] minimum of 3.48 hours per resident day for total

nurse staffing[,] including but not limited to—(i) [a] minimum of 0.55 hours per resident day for

registered nurses; and (ii) [a] minimum of 2.45 hours per resident day for nurse aides.” 89 Fed.

Reg. at 40996.

       Just as with the 24/7 RN mandate, the HPRD requirements rely on the general, catch-all

authority of provisions requiring LTC facilities to “provide services to attain or maintain the

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highest practicable physical, mental, and psychosocial well-being of each resident,” and

“promote maintenance or enhancement of the quality of life of each resident.” 89 Fed. Reg. at

40879, 40890-91; see 42 U.S.C. §§ 1395i-3(b)(1)(A), (b)(2), (d)(4)(B); 1396r(b)(1)(A), (b)(2),

(d)(4)(B). None of those generalized provisions authorize CMS to impose nationwide HPRD

requirements for RNs, NAs, and total nursing staff. CMS’s general authority over Medicare and

Medicaid does not permit it to modify “matter[s] specifically dealt with in another part of the

same enactment.” RadLAX Gateway Hotel, 566 U.S. at 646; see also 42 U.S.C. § 1302(a) (the

Secretary may not promulgate regulations that are “inconsistent with” statutory requirements).

       Congress weighed what staffing levels to require from LTC facilities, and it required that

each facility maintain staffing levels “sufficient to meet the nursing needs of its residents.” 42

U.S.C. §§ 1396r(b)(4)(C), 1395i-3(b)(4)(C). By negating and replacing Congress’ judgment on

staffing levels, Defendants exceed their authority.

               c. Constitutional Doubt

       The authority Defendants claim in the Final Rule is so expansive that it likely makes the

statute unconstitutional. If Congress truly gave CMS the authority to implement a regulation

that costs at least $43 billion to comply with and overrides another one of its provisions, then it

supplied no intelligible principle to guide how that power should be exercised. If CMS’

interpretation was accepted as the one Congress intended it would present serious

nondelegation concerns. See Kentucky v. Biden, 23 F.4th 585, 607, n.14 (6th Cir. 2022). (“If the

government's interpretation were correct—that the President can do essentially whatever he

wants so long as he determines it necessary to make federal contractors more ‘economical and

efficient’—then that certainly would present non-delegation concerns.”).

       The constitutional doubt canon requires this Court to interpret the Rule to avoid these

severe constitutional problems. As the Supreme Court has explained, its “application of the

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nondelegation doctrine principally has been limited to the interpretation of statutory texts, and,

more particularly, to giving narrow constructions to statutory delegations that might otherwise

be thought to be unconstitutional.” Mistretta v. United States, 488 U.S. 361, 373, n.7 (1989). The

Supreme Court thus reads statutes with this principle in mind, see, e.g., Gundy v. United States, 139

S.Ct. 2116 (2019). This Court should do the same and reject Defendants’ expansive claim of

authority.

        4. The Final Rule is arbitrary and capricious

        Defendants acted arbitrarily and capriciously because they (1) engaged in a sharp

departure from past practice without reasonable explanation, (2) failed to consider reliance

interests, and (3) failed to consider important aspects of the problem.

        The APA’s arbitrary-and-capricious standard requires agency action to be “reasonable

and reasonably explained.” E.g., Texas v. United States, 40 F.4th 205, 226 (5th Cir. 2022) (quoting

FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021)). The court “must set aside any action

premised on reasoning that fails to account for relevant factors or evinces a clear error of

judgment.” Id. An agency acts arbitrarily and capriciously when it departs sharply from prior

practice without reasonable explanation or fails ignores alternatives to its action or the affected

communities’ reliance on the prior rule. Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct.

1891, 1913 (2020). The standard is also met when an agency “relied on factors which Congress

has not intended it to consider, entirely failed to consider an important aspect of the problem,

offered an explanation for its decision that runs counter to the evidence before the agency, or is

so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” In re Operation of Mo. River Sys. Litig., 421 F.3d 618, 628 (8th Cir. 2005).

        And when an agency changes a longstanding policy, it must “show that there are good

reasons for the new policy” and “be cognizant that longstanding policies may have ‘engendered

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serious reliance interests that must be taken into account.’” Encino Motorcars, LLC v. Navarro, 579

U.S. 211, 221-22 (2016) (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

        a. Sharp Departure

        Over 50 years, Defendants have not imposed any minimum staffing requirements beyond

what is set by statute. See ECF 30 at 25. Then Defendants commissioned an expedited study

(the Abt Study) to tell them what they wanted to hear and issued the Final Rule. And even the

Abt study was inconclusive—it did “not identif[y] a minimum staffing level to ensure safe and

quality care.” Abt Study at 115. But it did find that “[n]ursing homes [would] face barriers to

hiring, primarily [with] workforce shortages and competition from staffing agencies.” Id. at xi.

While an agency may depart from past practice, it must explain demonstrate there is good

reason for doing so. Encino Motorcars, LLC, 579 U.S. at 221-22. Defendants gave a weak, pretextual

reason, not a good one. This was arbitrary and capricious.

        b. Failure to Consider Reliance Interests

        Since the flexible staffing mandate was implemented decades ago, states responded by

setting staffing requirements tailored to their citizens’ needs. See ECF 30 at 26. In turn, LTCs

have devoted their resources to meeting the state requirements and working with local

lawmakers to achieve a workable standard. CMS admits its 24/7 RN requirement imposes a one-

size-fits-all requirement, 89 Fed. Reg. at 40,908. Such an approach is not only unworkable in a

nation made up of such diverse states, and it also upends the deliberate Congressional policy to

set a minimum standard that states might adapt to their needs.

        When an agency upends decades of state laws and practices that LTCs have relied on, it

must seriously consider those reliance interests. Encino Motorcars, LLC, 579 U.S. at 221-22. Instead,

Defendants focused only on increased staffing benefits, without considering how states and

LTCs had invested in alternative staffing arrangements that balanced high quality care with

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realistically achievable staffing levels. It was arbitrary and capricious to ignore those reliance

interests.

          c. Failure to Consider Important Aspects of the Problem

          Finally, the Final Rule is arbitrary and capricious because it fails to consider both the

virtual impossibility of complying with the mandates and the staggering costs it puts on LTCs.

It is nearly impossible for many LTCs to comply with the Final Rule.5 Defendants acknowledge

the new requirements “exceed the existing minimum staffing requirements in nearly all States”

and will require increased staffing “in more than 79 percent of nursing facilities nationwide.” 89

Fed. Reg. at 40877. But they say nothing about how a nationwide staffing shortage can fixed by

mandating even more staff.

          Defendants estimate that LTC facilities will need to hire an additional 15,906 additional

RNs to meet the 24/7 RN requirement and 0.55 RN HPRD requirement (an increase of about

11.8%), plus an additional 77,611 NAs to meet the 2.45 NA HPRD requirement and 3.48 total

nurse HPRD requirement (an increase of about 17.2%). See id. at 40,958, 40,977-80. Those

increases are unattainable at a time when many LTC facilities are already experiencing extreme

difficulty finding qualified RNs and NAs to fill vacant positions, and when staffing shortages are

expected only to worsen.6 The Final Rule is a mandate that many LTC facilities will have no

realistic way to meet.

          Yet, faced with evidence of the staffing shortages that the Final Rule would cause,

Defendants irrationally asserted that “[a] total nurse staffing standard will guard[] against” it. 89

Fed. Reg. at 40,893; see 88 Fed. Reg. at 61,366, 61,369. Defendants “fully expect[s] that LTC

facilities will be able to meet [the Final Rule’s] requirements,” 89 Fed. Reg. at 40894, but the


5
    See, e.g., ECF 30, Pezzano Decl. ¶¶ 15-30; South Decl. ¶¶ 4-8; Monger Decl. ¶¶ 10-16
6 See, generally, ECF 30, Bates Decl.; Monger Decl.; Pezzano Decl.; South Decl.


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evidence provided by plaintiffs shows this is anything but true. See ECF 30 at 28-32.

         CMS’ “hardship exemption” does not fix the problem. First, the hardship exemptions are

available only to facilities that have already failed to meet the new staffing standards—and

“facilities cannot request” (or receive) “a survey specifically for the purpose of granting an

exemption.” 89 Fed. Reg. at 40,902. So instead of being able to proactively explain why it should

be entitled to an exemption, facilities that cannot meet CMS’s arbitrary requirements will face a

perpetual risk of being sanctioned for non-compliance. This is not a viable exemption.

         Second, the Final Rule fails to reasonably consider the staggering costs to Plaintiffs.

According to CMS, the Final Rule will cost over $5 billion per year to implement once fully

phased in, see 89 Fed. Reg. at 40,949, 40,970. But other estimates place the costs as high as $7

billion per year, see id. at 40,950. The Final Rule does not provide any additional funding for

Medicare or Medicaid, so CMS “assume[s] that LTC facilities . . . will bear the[se] costs.” Id. at

40,949. LTC facilities are in no position to take on this huge financial burden. 7

         CMS’s imposition of this massive, unfunded staffing mandate, despite the ongoing

workforce crisis and economic realities, is neither “reasonable” nor “reasonably explained.” This

complete failure to consider the impact of at least $43 billion in regulatory costs on LTCs with

almost no assistance from the federal government is arbitrary and capricious.

   IV.      The public interest and the equities favor Plaintiffs

         The public has no interest in an unlawful rule. To the contrary, the public has an interest

in ensuring that agency rulemakings do not exceed the statutory authority granted by Congress.



7 See, e.g., ECF 30, Munger Decl. ¶ 12 (estimated costs for Kansas LTCs to comply with Final Rule

on minimum staffing standards range between $64 million and $92.7 million in the first year, at
an average annual cost of $211,905 per facility); Hinker Decl. ¶ 8 (estimating total cost of $20
million for South Dakota facilities to comply with Final Rule).


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By exceeding the nursing home staffing ratios that Congress set, Defendants harm the public

interest.

        The public interest therefore favors Plaintiffs.

                                          CONCLUSION

        Plaintiffs request the Court to enjoin the Final Rule pending an appeal of the Court’s

Order. Plaintiffs respectfully request the Court to provide a ruling on this motion by the end of

the day on Tuesday, January 21, in order to expeditiously seek relief if the motion is denied.


        Respectfully submitted, this 17th day of January, 2025,


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                                    CERTIFICATE OF SERVICE

        This is to certify that on this 17th day of January, 2025, I electronically filed the above and

foregoing document with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.


                                                /s/ James Rodriguez
                                                James Rodriguez
                                                Counsel for Plaintiff State of Kansas




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